Case 1:19-cv-00478-CWD Document1 Filed 12/05/19 Page 1 of 4

 

Taso rm H al
Name , U.S. COURTS
FUE E. Ridge Drive
Eagle ID Sibile DEC 05 2019
Tides Revd, jiled. Time
Q09- 35-6387 STEPHEN W. KENYON
Tl CLERK, DISTRICT OF IBAHO |
UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF IDAHO
. } asSon H a | |
Eo
Plaintiff, caseNo. |. (4 CAL - US
Vs, , COMPLAINT
Teddy Ki ces (28 U.S.C, § 1332: Diversity of Citizenship)

, Connie King
Jury Trial Requested Xx. yes ___no
Defendant.

 

 

1, JURISDICTION
Jurisdiction in this case is based on diversity of citizenship, meaning both of these statements are true:

kf This civil action is between citizens of different states (no defendant is a citizen of the state of which I
am a citizen).

Ki The amount in controversy (the amount I believe the defendant owes me) is more than $75,000, not
including interest and costs.

2. PLAINTIFF

My name is Jason Ha [| . Lama citizen of the State of Tela ho ,

presently residing at Yat £. Rida @ Drive, Eas! 6 Ip SF lai lo

 

Complaint (Rev, 7/2014) i
Case 1:19-cv-00478-CWD Document1 Filed 12/05/19 Page 2 of 4

3. DEFENDANT AND CAUSE OF ACTION

(Copy and use a separate page for each defendant and each different type of claim; for example, if you have two different
claims against one defendant, you will use sve pages. Attach a continuation page if needed, but try to be brief.)

 

 

 

A. Tam suing Conn ie Kine , acitizen of the State of / evas
{a person ar entity)
B. (Factual Basis of Claim) I am complaining that on {(V] are. 4 Q ol o , Defendant
(dates)

did the following (state how Defendant participated in the wrongful act and include the reason Defendant so acted if
known):

 

Defendant will Pudly Ahad Know inal y- conzealed
the ehy sical condition of a valuable racehvrse,
Gher aby depriving plaintit P's ability to intervene
and ehtain medical assislance, Ais 2 djireat
result, Said horse died just days Jater.

 

 

 

C, (Legal Basis of Claim) I allege that the acts described above violated the following provisions of state

law: “Tort laws (Property Damase

 

D, Lallege that I suffered the following injury or damages as a result:

 

g
A00,000
E. I seek the following relief: Compensation for loss ot value

And Vvelerin ary expenses

Complaint (Rev. 7/2014) 2
Case 1:19-cv-00478-CWD Document1 Filed 12/05/19 Page 3 of 4

3. DEFENDANT AND CAUSE OF ACTION

{Copy and use a separate page for each defendant and each different type of claim; for example, if you have two different
claims against one defendant, you will use two pages. Attach a continuation page if needed, but try to be brief.)

 

 

 

A. Iam suing Ted dy ki "7 3 , acitizen of the State of / exas
a person or entity)
B, (Factual Basis of Claim) I am complaining that on (V1 are L, gO { 4 , Defendant
(dates)

did the following (state how Defendant participated in the wrongful act and include the reason Defendant so acted if
known):

 

Defendant willful lv and Knowingly vy _concealad
the physical condi Lien of a valuable racehorse
thereby depriving plaint i iff’s abi lity to intervene
and. obtain medical assistance. As a direel
result, Said horse died jus days later.

 

 

 

C. (Legal Basis of Claim) I allege that the acts described above violated the following provisions of state

mw Tort laws (Property Damage)

 

D. Lallege that I suffered the following injury or damages as a result:

 

3300, 000

 

E. [seek the following relief: Compens atjon for loss of value

and veterinary eX DenseS

Complaint (Rev. 7/2014) 2
Case 1:19-cv-00478-CWD Document1 Filed 12/05/19 Page 4 of 4

4, DECLARATION UNDER PENALTY OF PERJURY

I declare under penalty of perjury:

that I am the plaintiff in this action, that I have read the complaint, and that the information contained in
the complaint is true and correct, as required by 28 U.S.C. § 1746; 18 U.S.C. § 1621.

Executed at U.S. Dist. Ct. (Boise on | a- 57] 4

{Location} (Date)

Qo LLL

Plaintiffs Original Signature

 

Complaint (Rev. 7/2014) 3
